Case 4:18-cv-00014-KGB Document 1 Filed 01/05/18 Page 1 of 7




                         4:18-cv-00014-KGB




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Case 4:18-cv-00014-KGB Document 1 Filed 01/05/18 Page 2 of 7
Case 4:18-cv-00014-KGB Document 1 Filed 01/05/18 Page 3 of 7
Case 4:18-cv-00014-KGB Document 1 Filed 01/05/18 Page 4 of 7
Case 4:18-cv-00014-KGB Document 1 Filed 01/05/18 Page 5 of 7
Case 4:18-cv-00014-KGB Document 1 Filed 01/05/18 Page 6 of 7
Case 4:18-cv-00014-KGB Document 1 Filed 01/05/18 Page 7 of 7
